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Case 22-12609 Doc 386 Filed 11/28/23 Page 3 of 3

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this November aR 2023, a true and correct copy of ee XS
foregoing has been served by CM/ECF to a ltTL Lan Swile
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J on S- Burns info@ N< Neher ade Oo Lok hechbe VM D >! :

notices@nextchapterbk.com, pacerecfemails@gmail.com,
2634(@notices.nextchapterbk.com

Anthony J oseph DiPaula ajdipaula@dipaulalaw.com, cevans@dipaulalaw.com

Leah Christina Freedman bankruptcy@bww-law.com, leah.freedman@bww-law.com

Nicole C. Kenworthy bdept@mrrlaw.net

M. Evan Meyers bdept@mrrlaw.net

Daniel J. Pesachowitz dpesacho@siwpc.com, rjones@siwpc.com, bkreferrals@siwpc.com,
siwbkecf@siwpc.com, siwpc@ecf.courtdrive.com, siwattecf(@siwpc.com

William Mark Rudow williamrudow@rudowlaw.com

Dorothy Carol Sasser dsasser@siwpc.com, bkreferrals@siwpc.com, siwbkecf@siwpc.com,
siwpc@ecf.courtdrive.com, siwattecf@siwpc.com

William Frederick Steinwedel wsteinwedel@mdlab.org, roithamer2 1988@gmail.com,
G21117@notify.cincompass.com

Donald L Bell donbellaw@gmail.com

L. Jeanette Rice Jeanette.Rice@usdoj.gov

I FURTHER CERTIFY that on this November 20, 2023, a true and correct copy of the
foregoing has been served by first class mail, postage prepaid, to the parties listed below:

Office of the U.S. Trustee
6305 Ivy Lane, Suite 600
Greenbelt, MD 20770

Dr. William Bevan

ProMedica Skilled Nursing and Rehab (Manor Care)
11901 Georgia Avenue

Wheaton, MD 20902

